                      Case 5:22-cr-00113-MCS Document 1 Filed 04/08/22 Page 1 of 8 Page ID #:1
                                                                                         FILED
                                                                                                                  CLERK, U.S. DISTRICT COURT
      AO 91 (Rev. 11/11) Criminal Complaint


                                           UNITED STATES DISTRICT COURT                                               04/08/2022
        04/08/2022                                                    for the                                  CENTRAL DISTRICT OF CALIFORNIA

                                                         Central District
                                                       __________         of of
                                                                   District  California
                                                                                __________
                                                                                                                      D. Brown
                                                                                                                 BY: ___________________ DEPUTY

                 mc

                         United States of America                        )
                                    v.                                   )
                                                                         )      Case No.
                                                                         )                 5:22-mj-00219
                           Nicholas Daniel Lee                           )
                                                                         )
                                                                         )
                                Defendant(s)


         CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

                 I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
      On or about the date(s) of                 September 9, 2021              in the county of              Riverside                in the
            Central          District of           California        , the defendant(s) violated:

                      Code Section                                                 Offense Description
       18 USC Section 922(g)                         Felon in Possession of a Firearm and/or Ammunition
       18 USC Section 922(o)                         Possession of a Machine Gun




                 This criminal complaint is based on these facts:
      See attached affidavit.




                 ✔ Continued on the attached sheet.
                 u

                                                                                       /s/ signed pursuant to Fed. R. Crim. P. 4.1
                                                                                                    Complainant’s signature

                                                                                             Krista Gonzalez, Special Agent
                                                                                                     Printed name and title

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      Date:              04/08/2022
                                                                                                       Judge’s
                                                                                                       Judg
                                                                                                         d e’s signature
                                                                                                         dg

      City and state:                      Riverside, California                        Hon. Kenly Kiya Kato, Magistrate Judge
                                                                                                     Printed name and title

$86$ Abigail   W. Evans 276-6086
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                               AFFIDAVIT
     I, Krista Gonzalez, being duly sworn, declare and state as

follows:

                      I.    PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against Nicholas Daniel LEE (“LEE”)

for a violation of Title 18, United States Code, Section 922(g)

(Felon in Possession of a Firearm and/or Ammunition) and Title

18, United States Code, Section 922(o) (Possession of a Machine

Gun), on September 9, 2021, while in Cathedral City, California.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant, and does not purport to set forth all of my knowledge

of or investigation into this matter.       Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                      II.   BACKGROUND OF AFFIANT

     3.      I am a Special Agent (“SA”) with the Federal Bureau of

 Investigation (“FBI”) with the Los Angeles Division, Palm

 Springs Resident Agency in Palm Springs, California, where my

 duties include the investigation of violent crimes and gangs.

 I have been employed as a SA with the FBI since January 2020.

     4.      I graduated from the FBI Academy located in Quantico,

Virginia, in September 2020 and received approximately 840 hours


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of instruction in the fundamentals of law, ethics, behavioral

science, interviewing, report writing, firearms, surveillance,

defensive tactics and case management.       During my tenure as an

FBI SA, I have participated in a variety of investigations

including drug possession and trafficking, felon in possession

of firearms and/or ammunition, violent crimes, bank robberies,

bank fraud, wire fraud, and crimes against children.

     5.   As a SA, I have received training in the

identification, collection, and preservation of evidence,
photography, latent print collection, and crime scene

investigations.   I have also completed many hours of criminal

investigations, including compiling information, interviewing

victims, witnesses, and subjects, and collecting evidence to

support the filing of criminal complaints and search warrants.

During the course of my investigations, I have interviewed

witnesses, conducted surveillance, participated in execution of

arrest and search warrants, and reviewed various forms of

evidence including telephone call detail records, bank records,

invoices, photographs, recorded telephone calls, and other

miscellaneous financial documents.

                   III. SUMMARY OF PROBABLE CAUSE
     6.   On Thursday, September 9, 2021, Cathedral City Police

Department (“CCPD”) conducted a parole search of a gray

Chevrolet Equinox bearing California license plate number

8BFS171 (the “Equinox”) after LEE, who was on parole, was

contacted at the Cathedral City Cemetery located at 31705 Da

Vall Drive, Cathedral City, California.       LEE and three others


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were contacted at the cemetery because they had open containers

in public.

     7.      During the parole search, officers found one loaded

Glock 17 firearm bearing serial number WR985.        The firearm was

wedged between the front right passenger seat and the center

console of the Equinox.     While CCPD Gang Investigator Jesse Vela

was filling out booking paperwork, LEE made a spontaneous

statement that “the gun is mine.”       After being read his Miranda

rights, LEE told Investigator Vela the gun was his and he had
found it.
     8.      Further inspection of the firearm revealed that the

firearm was equipped with a Glock switch. 1       Sergeant Nathaniel

Hanley test fired the Glock 17, which revealed that the Glock

switch worked as intended, converting the semi-automatic pistol

into a fully automatic assault weapon.

                   IV.   STATEMENT OF PROBABLE CAUSE

     9.      During the course of this investigation, I reviewed

CCPD Police Report CR2109-2029 and body-worn camera footage from

CCPD Gang Investigator Jesse Vela, spoke with officers involved

in this investigation, and learned the following:

             a.   On September 9, 2021, Investigator Vela and CCPD

Sergeant Corwin de Veas received information that individuals

were seen drinking alcohol at the Cathedral City Cemetery

located at 31705 Da Vall Drive, Cathedral City, California.

Sergeant de Veas and Investigator Vela responded to the location

     1 A Glock switch is a device that can be added to a firearm
in order to convert the firearm’s firing capability from semi-
automatic to a fully-automatic.

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and saw a male subject (later identified as LEE) inside of and

then exiting the Equinox, and three other male subjects carrying

several 12-pack cartons of Corona beer.       Upon contact, the four

males said they were just about to leave the cemetery.

           b.    Investigator Vela noticed there were several

empty bottles within the cartons.       The four males were detained

for violating California Business and Professions Code 25620(a)

(Open Containers in Public).      The subjects were identified as:

           i.    Jabril McCree, date of birth (“DOB”) June 4, 1993;
           ii.   Jaime Rene Ruiz, DOB November 2, 1976;

           iii. Jose Pascual Ayala Jaramillo, DOB July 23, 1978;

and

           iv.   Nicholas Daniel LEE, DOB January 12, 1996.

           c.    LEE identified himself and said that he was on

parole.   Investigator Vela conducted a warrant check for LEE,

which confirmed that LEE was on active parole until November 1,

2022 for a conviction under California Penal Code (“CPC”),

Section 245(a)(1) (Assault with a Deadly Weapon, Great Bodily

Injury Likely), and that his parole terms allowed the search of

his vehicle.

           d.    LEE said that the Equinox was his, and that his

identification card was inside the Equinox.        Investigator Vela

advised LEE that CCPD officers were going to search the Equinox,

pursuant to the terms of his parole.       LEE then claimed that the

Equinox belonged to his girlfriend, Brianna Lopez (“Lopez”).

LEE told the officers that Lopez’s two small children were in




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the Equinox along with Lopez, who was then seated in the

driver’s seat.

           e.     Investigator Vela asked Lopez to exit the Equinox

with her children.    Investigator Vela conducted a search on the

Equinox and located a Glock 17 firearm bearing serial number

WR985 wedged in between the front, right, passenger seat and the

center console.    The firearm was loaded with seven rounds of

live PMC 9mm Lugar ammunition.

           f.     LEE was then placed under arrest for violations
of (1) CPC § 29800(a)(1) (Felon in Possession of a Firearm); (2)

CPC § 30305(a)(1) (Felon in Possession of Ammunition); and (3)

CPC § 25850(c)(6) (Carrying a Firearm, Not the Registered

Owner).

           g.     While Investigator Vela was filling out paperwork

after LEE’s arrest, LEE made the spontaneous statement that "the

gun is mine."    After being read his Miranda rights, LEE told

Investigator Vela the gun belonged to him (LEE) and that it was

not registered to him because he had found it.         LEE said that he

is a member of “CVC” 2 street gang, and he was not going to
divulge any more information other than the fact that the

firearm belonged to him.

                      V.   EXAMINATION OF FIREARM

     10.   After LEE was arrested and booked into jail, CCPD

Sergeant Nathaniel Hanley further inspected the Glock 17 firearm


     2 “CVC” is a slang term for Coachella Valley Criminals. CVC
is a known criminal street gang, which has members located in
different cities throughout the Coachella Valley and Desert
Regions.

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that was recovered from the Equinox.        Sergeant Hanley noticed

that the barrel of the firearm was threaded, which I know from

my training and experience is used to thread a suppressor device

to a semi-automatic pistol for the purpose of lowering the

decibel level created by live fire.        Sergeant Hanley also saw

the firearm was equipped with a Glock switch, which I know from

my training and experience makes the firearm capable of being

converted from a semi-automatic firearm to fully automatic

machine gun under Title 26, United States Code, Section
§ 5845(b).        Sergeant Hanley test-fired the Glock 17, which

confirmed that the Glock switch functioned as intended, and the

firearm had been converted into a fully automatic machine gun.

                            VI.   CRIMINAL HISTORY
     11.     On March 15, 2022, I reviewed the certified conviction

records provided by the Superior Court of the State of

California for the County of Riverside, and verified LEE had

been convicted of the following felony offenses punishable by a

term of imprisonment exceeding one year:
             a.     On or about September 21, 2015, in case number

INF1402205, in the Superior Court of the State of California for

the County of Riverside, for a violation of CPC § 245(A)(1),

assault with a deadly weapon; and

             b.     On or about September 21, 2015, in case number

INF1400543, in the Superior Court of the State of California for

the County of Riverside, for a violation of California Health

and Safety Code, Section 11378, possession of controlled

substance for sale.


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     12.    My review of the records from these cases revealed

that LEE signed a Plea Agreement in which he placed his initials

next to an advisement reading: “As a convicted felon, I will not

be able to own nor possess any firearm.”

                            VII. CONCLUSION
      13.    For all of the reasons described above, there is

probable cause to believe that LEE has committed violations of

Title 18, United States Code, Section 922(g) (Felon in

Possession of a Firearm and/or Ammunition) and Title 18, United

States Code, Section 922(o) (Possession of a Machine Gun).



Attested to by the applicant,
FBI SA Krista L. Gonzalez, in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                  WK day of
April, 2022.



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UNITED
   TED STATES MAGISTRATE
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